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STATE OF MAINE SUPERIOR COURT
YORK, ss CIVIL ACTION
DOCKET NO::

MATTHEW LAUZON, of Boston,
Suffolk County, Massachusetts,

Plaintiff,

EXHIBIT
v.

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:

STEPHEN DODD of Lakeland, Polk
County, Florida,

 

In his Individual Capacity

ROGER BEAUPRE, of Biddeford, York

County, Maine, COMPLAINT

(WITH DEMAND FOR JURY TRIAL)

In his Official Capacity as Chief of
Police for the Biddeford Police
Department and in his Individual
Capacity,

and

CITY OF BIDDEFORD
a municipality in the state of Maine,

Defendants

NOW COMES Plaintiff and hereby complains against Defendants as follows:
PRELIMINARY STATEMENT

l. Matthew Lauzon was sexually assaulted by Biddeford Police Department Officer
Steven Dodd in 1998-1999. Steven Dodd used his power and authority as a law enforcement
officer to gain access to Matthew Lauzon and to obtain Matthew Lauzon’s trust to sexually abuse
Matthew Lauzon and to ensure Matthew Lauzon’s silence about his abuses. Chief Roger
Beaupre was Chief of the Biddeford Police Department before, during, and after Matthew
Lauzon was sexually abused. Chief Roger Beaupre was given information prior to Matthew

Lauzon’s abuse such that he was aware of and/or should have been aware that Steven Dodd and

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at least one other Biddeford Police Officer had been and were sexually abusing young boys,
including Matthew Lauzon. As Chief, Roger Beaupre turned a blind eye and failed to prevent
this abuse. Chief Roger Beaupre’s failure to act meant that Steven Dodd was able to sexually
assault Matthew Lauzon. Matthew Lauzon brings this action against Steven Dodd, Chief Roger

Beaupre, and the City of Biddeford pursuant to 42 U.S.C. § 1983.

PARTIES
2. Plaintiff Matthew Lauzon (“Lauzon”) is an individual residing in Boston,
Massachusetts,
3. At all times relevant to this Complaint, Lauzon was a minor residing in

Biddeford, Maine.

4. Defendant Stephen Dodd (“Officer Dodd”) is an individual residing, on
information and belief, in Lakeland, Florida.

5. At all times relevant to this Complaint, Officer Dodd was a police officer with the
Biddeford Police Department (“BPD”) and was acting under color of state law as a BPD police
officer employed by BPD and the City of Biddeford.

6. Defendant Roger Beaupre (“Chief Beaupre”) is the Chief of Police for the BPD
and was the Chief of Police for the BPD at all times relevant to this Complaint and was acting
under color of state law as the Chief of BPD.

7. Defendant Chief Beaupre is and was the final policy maker for BPD.

8. Defendant City of Biddeford is a municipality in the state of Maine.

9. Defendants Roger Beaupre, in his Official Capacity as Chief of BPD, and City of

Biddeford are collectively referred to as “Municipal Defendants.”

STATEMENT OF FACTS
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10. Between 1998 and 1999, when Lauzon was 13 to14 years old, he was sexually
abuse by an adult neighbor.

11. | BPD became aware of this event and met with Lauzon and his father to
investigate it.

12. At the time of that investigation, Lauzon was too embarrassed with his father
present to admit the abuse had occurred.

13. Sometime weeks later Lauzon was contacted by Officer Dodd who offered to help
Lauzon with the sexual abuse by the neighbor.

14. Officer Dodd identified himself as a BPD officer when he offered to help Lauzon.

15. Lauzon felt a sense of relief with this second chance to speak to the police after
having not told the officers previously when he was too embarrassed to do so in front of his
father.

16. Officer Dodd picked Lauzon up to discuss the sexual abuse by his neighbor and
drove him to a secluded dirt road.

17. Officer Dodd then proceeded to sexually assault Lauzon.

18. Officer Dodd forcibly performed oral sex on Lauzon.

19. Officer Dodd attempted to force Lauzon to touch Dodd’s genitals, but Lauzon
pulled away.

20. Officer Dodd then masturbated with Lauzon in the car.

2). Officer Dodd sexually assaulted Lauzon on at least one subsequent occasion.

22. Officer Dodd used his power and authority as a BPD officer to earn Lauzon’s
trust, sexually assault him, and keep him from disclosing this first and subsequent sexual

assaults.

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23. Prior to the time that Officer Dodd sexually assaulted Lauzon, information had
been conveyed to Chief Beaupre that Officer Dodd and at least one other BPD officer had
committed sexual assaults against minors in Biddeford. Additionally, Officer Dodd had been
engaged in so many sexual assaults against minors in Biddeford that Chief Beaupre knew and/or
should have known that Officer Dodd was a sexually fixated pedophile, was dangerous to young
men and should not be in a position as an officer of the BPD.

24, Chief Beaupre knew and/or should have known that BPD officers were sexually
assaulting minors based on the information that he was given, including but not limited to
Officer Dodd’s sexual abuse of minors.

25. Despite receiving this information, Chief Beaupre took no steps to protect Lauzon
or other minors in Biddeford from the sexual assaults. Officer Dodd has stated that Chief
Beaupre would not take action to terminate Officer Dodd since Officer Dodd reportedly had
photographic and/or video evidence of Chief Beaupre’s alleged relationship with Officer Dodd
and one other person that, if disclosed by Officer Dodd, would significantly compromise Chief
Beaupre. Additionally Chief Beaupre engaged in a pattern of altering BPD internal affairs
policies and establishing BPD policies that provided him with the opportunity to control and
manipulate BPD policies to allow Officer Dodd to remain in his position during and after sexual
abuse allegations were made against Officer Dodd prior to the time that Lauzon was sexually
assaulted by Officer Dodd. Chief Beaupre also failed to provide mandatory notification to the
then-State of Maine Department of Human Services (“DHS”), despite his obligation to do so, of
the sexual abuse by Officer Dodd. Had Chief Beaupre done so, then DHS would have
investigated Officer Dodd and that independent investigation would have shown, prior to
Lauzon’s abuse by Officer Dodd, that Officer Dodd had abused minor boys through his position

as an officer of the BPD. Such an investigation would have resulted in the separation of Officer

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Dodd from the BPD prior to the time that Officer Dodd, using his position as an officer of the
BPD, molested Lauzon.
CLAIMS FOR RELIEF
COUNT I
42 U.S.C. § 1983
(Officer Dodd in his Individual Capacity)

26. Lauzon repeats and realleges Paragraphs 1 through 25 as if set forth fully herein.

27. At all times relevant to this Complaint, Lauzon had a Constitutional right of
liberty to bodily integrity, including but not limited to a freedom from sexual abuse by BPD
police officers.

28. Officer Dodd was acting under color of state law when he convinced Lauzon to
enter his car and sexually assaulted him.

29. Officer Dodd was acting under color of state law when he sexually assaulted
Lauzon on subsequent occasions.

30. Officer Dodd’s sexual assaults were a direct deprivation of Lauzon’s
constitutional rights to liberty of bodily integrity and freedom from sexual assault.

31. As a result of Officer Dodd’s actions, Lauzon suffered damages, including but not
limited to severe psychological damages, post-traumatic stress disorder, pain, suffering,
humiliation, embarrassment, lost wages and permanent impairment.

COUNT II
42 U.S.C. § 1983
(Chief Beaupre in his Individual Capacity)
32. Lauzon repeats and realleges Paragraphs 1 through 31 as if set forth fully herein.
33. At all times relevant to this Complaint, Lauzon had a Constitutional right of

liberty to bodily integrity, including but not limited to a freedom from sexual abuse by BPD

police officers.
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34. Officer Dodd was a subordinate to Chief Beaupre at all times relevant to this
Complaint.

35. Officer Dodd violated Lauzon’s Constitutional rights, as set forth more fully
above.

36. Chief Beaupre’s failure to investigate complaints against Dodd and/or supervise
Dodd’s misconduct constituted supervisory encouragement, condonation or acquiescence,
amounting to deliberate indifference.

37, Chief Beaupre’s actions and/or inactions described in the foregoing paragraphs
were affirmatively linked to Dodd’s violation of Lauzon’s constitutional rights.

38. Lauzon did not know and had no reason to know that the deliberately indifferent
actions and/or omissions of Chief Beaupre were the cause of his injuries and the violations of his
Constitutional rights.

39. As a result of Chief Beaupre’s actions and inactions Lauzon suffered damages,
including but not limited to severe psychological damages, post-traumatic stress disorder, pain,
suffering, humiliation, embarrassment, lost wages and permanent impairment.

COUNT III
42 U.S.C. § 1983
(Municipal Defendants)

40. Lauzon repeats and realleges Paragraphs 1 through 39 as if set forth fully herein.

Al. At all times relevant to this Complaint, Lauzon had a Constitutional right of
liberty to bodily integrity, including but not limited to a freedom from sexual abuse by BPD
police officers.

42. With deliberate indifference to the rights of minor citizens to be free from

invasions of bodily integrity and sexual assault by police, the Municipal Defendants encouraged,
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tolerated, ratified, and acquiesced to a dangerous environment of sexual assaults against
underage males by BPD officers by:

a. failing to conduct sufficient training or supervision;

b. failing to adequately punish acts of sexual abuse; and,

d. failing to properly or neutrally investigate citizen complaints of sexual abuse of
minors;

43. Officer Dodd and at least one other BPD officer engaged in a continuing,
widespread, and persistent pattern of conduct in violation of citizens? constitutional rights to
bodily integrity and freedom from sexual assault.

44. At all times relevant to this Complaint, it was the longstanding widespread
deliberately indifferent custom, habit, practice and/or policy of the Municipal Defendants to
permit BPD officers to sexually assault minors, to fail to supervise BPD officers who were
sexually assaulting minors, and to fail to investigate reports of sexual assaults by BPD officers
knowing that these members of law enforcement posed a significant risk to the public.

45. These deliberately indifferent customs and/or tacit authorizations of the Municipal
Defendants were causes of the injury to Lauzon’s constitutional rights to liberty of bodily
integrity and freedom from sexual assault by BPD officers.

46. Lauzon did not know and had no reason to know that the deliberately indifferent
actions and/or omissions of the Municipal Defendants were the cause of his injuries and the
violations of his Constitutional rights.

47. Lauzon was injured by the Municipal Defendants’ deliberate indifference to the

violations of his constitutional rights.
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48. As a result of the Municipal Defendants’ actions and inactions Lauzon suffered
damages, including but not limited to severe psychological damages, post-traumatic stress
disorder, pain, suffering, humiliation, embarrassment, lost wages and permanent impairment.

COUNT IV
NEGLIGENT SUPERVISION
(Municipal Defendants)
49. Lauzon repeats and realleges Paragraphs 1 through 48 as if set forth fully herein.
50. Atall times relevant to this Complaint, a special relationship existed between the

Municipal Defendants, who were trusted and empowered to protect minor citizens of Biddeford,

including Lauzon, who are more vulnerable than adults.

SI. There was a disparity of power and influence between the Municipal Defendants
and Lauzon.
52. As a result of these circumstances, there was a reasonable basis for Lauzon to

place trust and confidence in the Municipal Defendants.

53. The Municipal Defendants were aware that Lauzon may have suffered sexual
abuse by his neighbor and investigated this complaint.

54. The knowledge that Lauzon may have been the victim of sexual abuse meant that
Lauzon placed great trust and confidence in the Municipal Defendants.

55. Lauzon in fact placed trust and confidence in the Municipal Defendants as a result
of this special relationship.

56. The Municipal Defendants knew or should have known that Officer Dodd posed a
substantial risk of harm to Lauzon.

57, Under these circumstances, the Municipal Defendants owed a duty to protect

Lauzon.
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58. The Municipal Defendants failed to exercise their duty of care to protect Lauzon.

59. The Municipal Defendants’ failure to exercise their duty of care caused injuries to
Lauzon.

60. As a result of the Municipal Defendants’ breach of duty, Lauzon suffered
damages, including but not limited to severe psychological damages, post-traumatic stress
disorder, pain, suffering, humiliation, embarrassment, lost wages and permanent impairment.

WHEREFORE, Plaintiff requests this Court order the following:

1. Compensatory damages against each Defendant jointly and severally on all
counts.

2. Punitive damages against Defendants Steven Dodd and Roger Beaupre jointly and
severally.

3. Punitive damages against the Municipal Defendants on Count IV.

4. Reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1983.

5. Any other relief this Court deems just and proper.

JURY DEMAND

Lauzon demands a trial by jury on all counts of his Complaint.
Date: /o /; 2eaf75-

WALTER F. MCKEE, ESQ.
Bar No. 7848

McKee Billings, LLC, P.A.
133 State Street

 

Dated: C026 fre

 

JAMES A. BILLINGS, ESQ.
Bar No. 9353

Dated:/ O24 fe—— LEE, one bn
MATTHEW D. MORGAN/ESQ.
Bar No. 5044

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